           Case 1-19-46882-cec             Doc 17       Filed 12/03/19    Entered 12/03/19 16:58:35



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK (BROOKLYN)
----------------------------------------------------------------------X    Return Date: December 10, 2019
                                                                           Time: 3:00 PM
                                                                           Case No.: 1-19-46882-cec
In Re:
                                                                           In Proceeding for
MICHAEL L STATHAKIS
aka Michael Larry Stathakis
fdba Whisk Remodeling Corp.                                                Chapter 7
                                            Debtor(s)

----------------------------------------------------------------------X
             AMENDED NOTICE OF MOTION TO EXTEND THE AUTOMATIC STAY

         PLEASE TAKE NOTICE that upon the annexed motion, the Debtor, through his attorney,

Btzalel Hirschhorn, Esq., will move this Court before the Honorable Carla Craig

Bankruptcy Judge at the United States Bankruptcy Court at 271 Cadman Plaza East, Brooklyn, NY,

Courtroom – 3529, on the 10th day of December, 2019 at 3:00 P.M. or soon thereafter as counsel can

be heard, for an Order pursuant to 11 U.S.C. §362 (c)(3)(B) to continue the automatic stay provided

under § 362 (a) and for such other and further relief as may seem just and proper.


         Responsive papers shall be filed with the Bankruptcy Court and personally served upon the

attorney for the Debtor, Btzalel Hirschhorn, Esq., no later than five (5) days prior to the hearing date set

forth above. Any responsive papers shall be in conformity with the Federal Rules of Civil Procedure and

indicate the entity submitting the response, the nature of the response and the basis of the response.

Dated: December 3, 2019
       Kew Gardens, New York

                                                                      /s/ Btzalel Hirschhorn, Esq.
                                                               BTZALEL HIRSCHHORN, ESQ.
                                 SHIRYAK, BOWMAN, ANDERSON, GILL & KADOCHNIKOV, LLP
                                                                             Attorneys for Debtor
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TO
Via First Class Mail:

Robert J Musso, Esq.
26 Court Street
Suite 2211
Brooklyn, NY 11242
Trustee

Office of the United States Trustee
Eastern District of NY (Brooklyn Office)
U.S. Federal Office Building
201 Varick Street, Suite 1006
New York, NY 10014

Zann Welch
Claims Processor, Bankruptcy Servicer for BMW Financial Services NA, LLC
AIS Portfolio Services, LP
4515 N Santa Fe Avenue, Dept. APS
Oklahoma City, OK 73118
Notice of Appearance Filed

THE LAW OFFICE OF MICHAEL C. D’ARIES, LLC
Michael C. D’Aries, Esq.
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Attorneys for 21st Century Mortgage Corporation
